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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


DARNELL TATEM
                                                   :
       Plaintiff,                                  :
V.                                                 :    CIVIL NO. 3:18-cv-382-VAB
                                                   :
BRIAN PERELMUTER                                   :
                                                   :
       Defendant.                                  :
                                                   :    June 30, 2020


                    JOINT MOTION TO AMEND SCHEDULING ORDER

       Pursuant to Federal Rules of Civil Procedure 6 and 16(b)(4) and Local Rules 7(b) and

16(b), Plaintiff Darnell Tatem and Defendant Brian Perelmuter DMD respectfully move to

amend the current Scheduling Order. In support of their motion, the parties state as follows:

       1.       Tatem commenced this action on March 5, 2018 (Dkt. No. 1). After Tatem filed

an amended complaint and was appointed Pro Bono Counsel, Dr. Perelmuter was served

personally on October 14, 2019 (Dkt. No. 22). The parties filed their Joint Report of the Parties’

Rule 26(f) Planning Meeting on December 20, 2019 (Dkt. No. 24), and the Court approved the

proposed schedule set forth in the Rule 26(f) report and entered its Scheduling Order dated

January 8, 2020 (Dkt. No. 27).

       2.       To date, the parties have worked actively to advance the discovery process. These

efforts have included serving written discovery requests and the production of Tatem’s medical

records. Based on facts revealed through the discovery provided by Dr. Perelmuter, Tatem has
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moved for leave to file a Second Amended Complaint to add Dr. Regina Landesberg as a party

defendant in this case (Dkt. No. 33).

       3.       At this time, the parties continue to complete document production and are in the

process of scheduling depositions of fact witnesses. The disruption caused by the COVID-19

pandemic, including the resulting travel restrictions and safety precautions, delayed depositions

of fact witnesses in this case and continues to cause scheduling hurdles.         The parties are

presently in the process of scheduling the depositions of Drs. Perelmuter, Landesberg,

Lichtenstein and the plaintiff on mutually convenient dates. Additionally, Tatem’s Motion for

Leave to Amend Complaint and to Join Party Defendant is still pending.

       4.       Under the Scheduling Order, the current deadline for the parties to complete fact

witness depositions is July 31, 2020, and the current deadline for the parties to designate experts

and provide a damages analysis is July 10, 2020. Given the discovery still to be taken and the

logistical challenges attendant to completing the depositions, the July 10, 2020 and July 31, 2020

deadlines under the current Scheduling Order cannot reasonably be met and it is necessary to

postpone the trial ready date to prevent manifest injustice. A modification to the Scheduling

Order will also provide the Court with more time to decide Tatem’s pending motion seeking to

add Dr. Landesberg as a party defendant. There is thus good cause to modify the Scheduling

Order, and the parties respectfully move for an extension of the deadlines in the Scheduling

Order as set forth below:

            Deadline                     Current Date                       Proposed Date
Damages analysis                July 10, 2020                      October 10, 2020




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Designation of experts          July 10, 2020 (plaintiff)             October 10, 2020 (plaintiff)
                                September 11, 2020 (defendant)        December 11, 2020 (defendant)
Expert depositions              August 14, 2020 (plaintiff)           November 14, 2020 (plaintiff)
                                October 9, 2020 (defendant)           January 9, 2021 (defendant)
Expert reports                  September 4, 2020                     December 4, 2020

Fact witness depositions        July 31, 2020                         October 31, 2020

Close of discovery              October 9, 2020                       January 9, 2021

Dispositive motions             November 13, 2020                     February 13, 2020

                                March 5, 2021, or thirty days         June 5, 2021, or thirty days
Joint trial memorandum          after the Court rules on any          after the Court rules on any
                                dispositive motion.                   dispositive motion.
                                April 5, 2021, or 30 days after       July 5, 2021, or 30 days after
Trial ready date                the filing of the joint trial         the filing of the joint trial
                                memorandum.                           memorandum.


4.      This is the first motion to amend the Scheduling Order, and the parties do not currently

anticipate requesting any further extension that would impact the trial ready date.

5.      This motion is not made for the purposes of delay but is made in good faith and in the

interest of judicial economy and efficiency. The requested modifications to the Scheduling Order

will neither cause excessive delay in the litigation nor will it unduly prejudice either party.

        WHEREFORE, the parties respectfully request that this Court grant their motion and

amend the schedule based on the dates listed herein.




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Dated: June 30, 2020                Respectfully submitted,


PLAINTIFF,                              DEFENDANT,
DARNELL TATEM                           BRIAN PERELMUTER

                                        WILLIAM TONG
                                        ATTORNEY GENERAL

By_/s/ John L. Cordani, Jr.             By__/s/ Steven M. Barry_______
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                                      CERTIFICATION

               I hereby certify that on June 30, 2020 a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of Court’s electronic filing system or by

mail on anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.




                                                    /s/ John L. Cordani, Jr.
                                                    John L. Cordani, Jr.




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